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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STEPHEN CULBERT, JR.
940 Galbraith Avenue
Marcus Hook, PA 19061

Plaintiff
Vs.
STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY
One State Farm Plaza

Bloomington, IL 61710

Defendant

TERM, 2014

NO.

JURY TRIAL DEMANDED

COMPLAINT IN CIVIL ACTION

NOTICE

You have been sued in court. If you wish to
defend against the claims set forth in the
following pages, you must take action within
twenty (20) days after this complaint and notice
are served, by entering a written appearance
personally or by attorney and filing in writing
with the court your defenses or objections to the
claims set forth against you. You are warned that
if you fail to do so the case may proceed without
you and a judgment may be entered against you
by the court without further notice for any money
claimed in the complaint or for any other claim or
relief requested by the plaintiff. You may lose
money or property or other rights important to
you.

YOU SHOULD TAKE THIS PAPER TO YOUR
LAWYER AT ONCE. IF YOU DO NOT HAVE A
LAWYER OR CANNOT AFFORD ONE, GO TO
OR TELEPHONE THE OFFICE SET FORTH
BELOW TO FIND OUT WHERE YOU CAN GET
LEGAL HELP.

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LAWYER REFERRAL AND INFORMATION
SERVICE
ONE READING CENTER
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TELEPHONE: (215) 238-6333

AVISO

Le han demandado a usted en la corte. Si usted
quiere defenderse de estas demandas expuestas
en las paginas siguientes, usted tiene veinte (20)
dias de plazo al partir de la fecha de la demanda
y la notificacion. Hace falta asentar una
comparencia escrita 0 en persona o con un
abogado y entregar a la corte en forma escrite sus
defensas o sus objeciones a las demandas en
contra de su persona. Sea avisado que si usted no
se defiende, la corte tomard mdidas y puede
continuar la demanda en contra suya sin previo
aviso 0 notificacién. Ademas, la corte puede
decidir a favor del demandante y requiere que
usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus
propiedades u otros derechos importantes para
usted,

LLEVE ESTA DEMANDA A UN
INMEDIATA-MENTE. SI NO TIENE
ABOGADO O SINO TIENE EL DI-NERO
SUFICIENTE DE PAGAR TAL SERVICO, VAYA
EN PERSONA O LLAME POR TELEPHONO A
LA OFICINA CUYA  DIRECCION — SE
ENCUENTRA  ESCRITA ABAJO PARA
AVERIGUAR DONDE SE PUDE CONSEGUIR
ASISTENCIA LEGAL.

ABOGADO

ASOCIACION DE LICENCIADOS DE
FILADELFIA
SERVICIO DE REFERENCIA E INFORMACION
LEGAL
ONE READING CENTER
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STEPHEN CULBERT, JR. :
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Plaintiff : NO.
VS.

STATE FARM MUTUAL

AUTOMOBILE INSURANCE

COMPANY

One State Farm Plaza :

Bloomington, IL 61710 : JURY TRIAL DEMANDED
Defendant

CIVIL ACTION COMPLAINT

Comes now the Plaintiff, Stephen Culbert, Jr, by and through his counsel,
Christopher J. Heavens and Heavens Law Firm, PLLC, and moves for judgment against
the Defendant on grounds and in the amount as follows:

it. At all times relevant herein, the Plaintiff, Stephen Culbert, Jr., was and is a
citizen and resident of Marcus Hook, Delaware County, Pennsylvania.

2; At all times relevant herein, Defendant, State Farm Mutual Automobile
Insurance Company, (hereinafter referred to as “State Farm”) was a foreign corporation
with a home office at One State Farm Plaza, Bloomington, Illinois, and conducting
business in Delaware County, Pennsylvania, and State Farm is subject to the jurisdiction
of this Court.

I. Federal Jurisdiction
o. Diversity of citizenship exists between the Plaintiff, resident and citizen of

Delaware County, Pennsylvania, and the Defendant, a foreign corporation conducting
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business in Delaware County, Pennsylvania, and Defendant is subject to the jurisdiction
of this Court, pursuant to 28 U.S.C. 1332.

4, Said diversity of citizenship existed at the time of the accident which
forms the basis of the Plaintiff’s legal claims against the defendant and continues to
exist at the time of the filing of this complaint.

5. Plaintiff's damages on the legal claims asserted herein exceed $75,000.

6. Because of said diversity of citizenship, the United States District Court
for the Eastern District of Pennsylvania has jurisdiction over the legal claims being
asserted by the Plaintiff against the defendant and that United States District Court for
the Eastern District of Pennsylvania has jurisdiction over the defendant.

7. State Farm regularly conducts business in Delaware County,
Pennsylvania, writes coverage here, and the United States District Court for the Eastern
District of Pennsylvania is a court of competent jurisdiction for the purposes set forth in
the State Farm policy and Plaintiff requests that the Plaintiff's underinsured motorist
claim be submitted for legal determination in this court of law.

II. Cause of Action, Damages and Requested Relief

8. Plaintiff is an adult individual who at all times relevant hereto had a
mailing address at the above address and who at all times relevant hereto was an
insured of Defendant, State Farm Mutual Automobile Insurance Company, (hereinafter
“State Farm”).

2 Defendant, State Farm, is an insurance company doing business in
Delaware County, Pennsylvania, that at all times relevant hereto issued an automobile
insurance policy (policy number 204 3473 B22 38) to Plaintiff's mother, Tracy Culbert,
with underinsured motorist coverage in the amount of $100,000 (per person) and

$300,000 (per accident) to protect her and the Plaintiff from damages incurred in

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automobile accidents due the negligence of individual tortfeasors who have insufficient
liability insurance to cover the injuries incurred by Plaintiff. See Insurance Declarations
Page attached hereto as “Exhibit A.”

10. On or about August 31, 2012, Plaintiff sustained personal injuries in a
motor vehicle accident that occurred in the state of Pennsylvania.

11. On the date of the accident, Plaintiff was covered by a policy of
automobile insurance issued by Defendant (policy number 204 3473 B22 38).

12. As a result of the automobile accident of August 31, 2012, Plaintiff
suffered, inter alia, injuries to his head, neck, and back, including a head injury, which
consisted of six bleeds on his brain, back injury, which consisted of four compressed
discs and one disc herniation, and a dislocated left shoulder, along with other injuries
which required extended hospitalization, some or all of which injuries may be
permanent.

13. As a further result of the accident of August 31, 2012, Plaintiff has been
obliged to receive and undergo medical attention and care and to expend various sums
of money or to incur various expenses for which medical benefits are payable under
Defendant's automobile insurance policy. Plaintiff may be obliged to continue to
expend various sums of money for an indefinite period of time into the future in order
to receive treatment for the injuries suffered in the accident August 31, 2012. To date,

Plaintiff has incurred at least the following reasonable and necessary medical expenses:

Crozer Chester Medical Center $147,039.00
Riddle Hospital $7,373.00
Thomas Jefferson University Hospital $15,163.00
Aubrey Okpaku, M.D., Neurological Practice Assoc $753.00
Rothman Institute / Recon Ortho Assoc $1,005.00

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Southeast Radiology, Ltd. $252.00
Assoc in Anesthesia Pain $750.00
HAN Network $191.00
Out of Pocket Expenses $2,000.00*
“approximate

TOTAL $174,526.00

14. All of the medical bills specified above are fair and reasonable, and all

treatment specified therein was medically necessary as a result of the injuries Plaintiff
sustained in the accident of August 31, 2012.

15. Plaintiff was informed by the tortfeasor’s insurance company, Progressive
Insurance, that their insured’s policy limits were $30,000 per person and $60,000 per
occurrence,

16. Progressive settled with the Plaintiff for its $30,000 liability policy limit
and State Farm (State Farm policy number 204 3473 B22 38) consented to said
settlement.

17. ‘Plaintiff was informed by State Farm Mutual Automobile Insurance
Company, the insurer of the driver of the vehicle in which Plaintiff was passenger at the
time of the accident, that their insured’s underinsured motorist policy limits were
$50,000 per person and $100,000 per occurrence.

18. State Farm Mutual Automobile Insurance Company settled with Plaintiff
for its $50,000 UIM policy limit and State Farm (State Farm policy 503605708H)
consented to said settlement.

19, Defendant, State Farm (policy number 204 3473 B22 38), through its
adjuster, Scott Whiteside, made a $100,000 UIM settlement offer to the Plaintiff on or

about January 16, 2014.
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20. Following State Farm’s $100,000 offer of the UIM limit, Plaintiff inquired
of State Farm several times as to the status of the settlement check and was informed by
State Farm that said settlement check should be received within 7 to 10 business days.

21. Despite these representations by State Farm that the settlement check
would be received within 7 to 10 business days, said settlement check was not received
by the Plaintiff in said time frame.

22. After the offer of the $100,000 UIM policy limit had been extended to the
Plaintiff, State Farm re-assigned the UIM claim to another adjuster, replacing Scott
Whiteside with Brian Matarese. Brian Matarese was familiar with the Plaintiffs claim
because he was the State Farm adjuster that settled with the Plaintiff for State Farm’s
$50,000 UIM policy limit from State Farm policy number 503605708H.

23. On or about March 5, 2014, State Farm informed the Plaintiff that the
previous insurance adjuster on the UIM claim, Scott Whiteside, did not have authority
to extend a settlement offer of $100,000 to the Plaintiff and State Farm withdrew its offer
of $100,000 to settle the Plaintiff's UIM claim, pending further investigation.

24, On or about March 5, 2014, State Farm for the first time began to assert
that it did not know that the Plaintiff had health insurance before Mr. Whiteside
extended the $100,000 UIM policy limit to the Plaintiff.

25. State Farm’s assertion that it did not know that Plaintiff had health
insurance until on or about March 5, 2014, was untrue as State Farm had been in contact
with Healthcare Recoveries on Mr. Culbert’s claim as early as April 29, 2013, and the
Client Number (8440662-838624) referenced in State Farm’s letter is the same Client
Number that has been referenced by the Plaintiff's health insurer throughout the
processing of the Plaintiff's vehicle insurance claims, SEE: Letter, dated April 29, 2013,

attached as “Exhibit B. “
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26. State Farm’s assertion that it did not know that Plaintiff had health
insurance until on or about March 5, 2014, was untrue because Plaintiff’s counsel sent a
letter to State Farm, dated September 13, 2013, wherein Plaintiff's counsel enclosed the
above-referenced April 29, 2013 letter and payment log that had been sent from State
Farm to the Plaintiff's healthcare insurer, Healthcare Recoveries. SEE: Letter, dated
September 13, 2013, attached as “Exhibit C.”

27. The above-referenced letter, dated September 13, 2013 (Exhibit C), sent
from Plaintiff's counsel to State Farm references State Farm Claim Number 38-1N75-
005, which is the $100,000 UIM claim which forms the basis for Plaintiff's instant civil
action against State Farm, and this constitutes clear evidence that State Farm was on
notice of the existence of the Plaintiff's health insurance well before its offer of the
$100,000 UIM policy limit and its withdrawal of that policy limit.

28. On or about March 5, 2014, State Farm began to request medical records
and bills on the Plaintiff, despite the fact that State Farm had such records and bills as a
result of the Plaintiff's PIP claims with State Farm arising as a result of PIP coverage on
both State Farm policies referenced hereinabove. (State Farm policy covering vehicle in
which Plaintiff was a passenger and State Farm policy covering Plaintiffs mother under
which Plaintiff was covered as a resident relative of his mother’s household).

29, On March 24, 2104, State Farm advised Plaintiffs counsel that it had
completed its evaluation of the Plaintiff's claim and that it would not offer any
additional compensation to the Plaintiff, thus reducing a $100,000 UIM policy limit
settlement offer to zero.

30. State Farm’s conduct constitutes breach of contract and bad faith because
State Farm extended the $100,000 policy limit offer with full access to and knowledge of

the Plaintiff’s medical records and bills and the existence of Plaintiff’s health insurance

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coverage, only to breach its contract with the Plaintiff by falsely asserting a lack of
access to and/or knowledge of the Plaintiffs medical issues and bills and a lack of
knowledge of the existence of Plaintiff's health insurance.

31. Despite State Farm’s breach of contract and bad faith, the Plaintiff did
provide State Farm an opportunity to settle the UIM claim as previously agreed before
filing the instant suit and State Farm failed to avail itself of that opportunity, refusing to
make any settlement offer to the Plaintiff, thus forcing the Plaintiff to file the instant
lawsuit to enforce his rights.

Ill. Breach of Contract and Bad Faith Claims

32. Paragraphs 1 through 31 of Plaintiff's Complaint are here incorporated by
reference.

33: On or about January 16, 2014, Defendant offered Plaintiff the policy limits
of $100,00 to settle his underinsured motorist claim.

34, Prior to State Farm’s offer of $100,000 to settle Plaintiff's UIM claim, State
Farm had obtained the Plaintiff's medical records and bills in relation to the Plaintiff’s
PIP claim and had authority to review those records, so that there was no good faith
basis for State Farm to withdraw its UIM settlement offer on grounds that it needed
medical records or bills on the Plaintiff.

35. Prior to State Farm’s offer of $100,000 to settle Plaintiff’s UIM claim, State
Farm knew of the existence of the Plaintiff's healthcare insurance so that there was no
good faith basis for State Farm to withdraw its UIM settlement offer on grounds that it
did not know of the existence of the Plaintiff's healthcare insurance.

36. Prior to State Farm’s offer of $100,000 to settle Plaintiff's UIM claim, the
Plaintiff fully complied with all of State Farm’s requests and fully complied with all of

State Farm’s policy provisions, believing that State Farm had settled his UIM claim and

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that the matter was resolved to the mutual satisfaction of all parties.

BT. State Farm’s withdrawal of its settlement $100,000 UIM settlement offer
and subsequent refusal to make any UIM settlement offer constitutes breach of contract
and bad faith because the circumstances giving rise to the withdrawal of the $100,000
UIM settlement offer and ultimate refusal to make any UIM settlement offer do not
justify such conduct under any reasonable interpretation of the facts, not the least of
which is that the severity of the Plaintiff's injuries and damages clearly warrant a
settlement in excess of $180,000, which is the combined limits of all available insurance
coverage in this instance.

38. State Farm’s conduct in withdrawing and totally revoking its $100,000
UIM settlement offer is causing the Plaintiff harm, both economically and emotionally,
and that harm continues with each day that State Farm refuses to honor its original
promise to the Plaintiff to settle his UIM claim for the available policy limit.

39, State Farm, in withdrawing its $100,000 settlement offer to the Plaintiff
under his underinsured motorist coverage, acted with no reasonable foundation, and
accordingly is liable to Plaintiff for attorney's fees and costs, pursuant to Section 1798 of
the Pennsylvania Motor Vehicle Financial Responsibility Law.

WHEREFORE, Plaintiff demands judgment in his favor against State Farm
Mutual Automobile Insurance Company, in an amount in excess of $75,000 and
requests relief pursuant to 42 Pa.C.S. § 8371 with an award of interest on the amount of
the claim from the date the claim was made by the insured to an amount equal to the
prime rate of interest plus 3%; an award in punitive damages against State Farm Mutual
Automobile Insurance Company; and an assessment of court costs and attorney fees,
and all damages legally permissible under law against State Farm Mutual Automobile

Insurance Company.
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Respectfully sub Vy
HEAVENS LAW FIRM,
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